Case 2:21-cv-00289-GZS Document 10 Filed 03/09/22 Page 1 of 2                     PageID #: 1257




                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

___________________________________
                                    )
                                    )
JULIE COOLIDGE,                     )
                                    )
            Plaintiff,              )
                                    )
                                    )                       Case No.: 2:21-cv-00289-GZS
      v.                            )
                                    )
RELIANCE STANDARD LIFE              )
INSURANCE COMPANY,                  )
                                    )
            Defendant.              )
___________________________________ )


                               STIPULATION OF DISMISSAL


       Pursuant to F.R.Civ.P. 41(a)(1), the Plaintiff and Defendant agree that Plaintiff’s

Complaint may be dismissed with prejudice and without costs.

Dated: March 9, 2022


/s/ Andrew S. Davis                                  /s/ Joshua Bachrach

Andrew S. Davis, Esq.                                Joshua Bachrach, Esq.
Lambert Coffin                                       Wilson Elser Moskowitz Edelman & Dicker
Two Monument Sq., Ste. 400                           Two Commerce Square
P.O. Box 15215                                       2001 Market St., Ste. 3100
Portland, ME 04112-5215                              Philadelphia, PA 19103
(207) 874-4000                                       (215) 606-3906
adavis@lambertcoffin.com                             joshua.bachrach@wilsonelser.com

Attorney for Plaintiff                               Attorney for Defendant




                                                1
Case 2:21-cv-00289-GZS Document 10 Filed 03/09/22 Page 2 of 2                  PageID #: 1258




                               CERTIFICATE OF SERVICE

        I hereby certify that this document was served on the following counsel of record by ECF
filing on March 9, 2022:

Joshua Bachrach, Esq.
Wilson Elser Moskowitz Edelman & Dicker, LLP
Two Commerce Sq., 2001 Market St., Ste. 3100
Philadelphia, PA 19103
joshua.bachrach@wilsonelser.com

                                                   /s/ Andrew S. Davis

                                                   Andrew S. Davis, Esq.

LAMBERT COFFIN
Two Monument Square, Suite 400
P.O. Box 15215
Portland, ME 04112-15215
(207) 874-4000
adavis@lambertcoffin.com

Attorney for Plaintiff




                                               2
